     Case 1:20-cr-01370-KWR Document 8 Filed 06/18/20 Page 1 of 1
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                                                                                                         UNITED STATES DISTRICT COUHT      :
                                                                                                          ALBUQUERQUE, NEW MEXICO
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                           UNrrEo Srarns Dlsrrucr Counr                                                                      CLEHK

                                           Disrrict   iiit5   Mexico


         United States of Arnerica

                      v.
                                                                                        Case       No. 13-cr-00188
         James Phillip Tafoya
                   Defen&rnt



                           WAIVER OF PERSONAL PRBSENCE AT HEARING

         ,. James      Phillip Tafoya                            Defendant. understand that I am sclreduled for

u   Initial                                           lrearing   on OL'l&. Zo2o
         natilre   oJ'hearing                                            date

         I understand that I rnay appear by video for this proceeding. I hereby ask to be pennitted to

appear   forthe hearing by video, and waive my right to be personally preserrt forthis heariug.




Date: U-.1'1.7o?o



                                                                     Signa ture ol' de.lbndant'_

                                                      Emily P. Carey
                                                                   Printetl ttame       o.f   tle/endant's c,ltofllev

                                                      Emily_Carey@fd.org
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